g Case 2:18-mj-02300-DUTY Document 3 Filed 09/13/18 Page 1 of 2 Page |D #:167
. Case. 2:18-mj-02300-DUTY *SEALED* Document 1-1 *SEALED* Filed 08/29/18 Page 2 of 42

 

 

‘ Page |D #:43
AO 93 (Rev. 12/09) Search and Sezzure Warrant (Page 2)
Return
Case No..' Date and time warra, exe uted.' Copy of warrant and inventory left with.‘
2;18-MJ-2300 §§ csa /\/\ 5 g //1¢ j 532 ad /’?( d canton

 

 

 

Inventorjy made in the presence of.' /\‘} /J szws ”7 QZM l UI yard %W€émf

 

Inventory of the property taken and name of any person(s) seized.'

[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the Warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as Well as the approximate
volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

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Certification (by officer present during the execution of the Warrant)

 

I declare under penalty of perjury that 1 am an omcer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's Ojj‘ice.

 

Date.' j fl {X' [:/__-
xecuting ojz`cer ’s signature
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Prl`nted name and title

 

 

 

AUSA: [Scott Lara x0427]

 

Case 2:18-mj-O2300-DUTY Document 3 Filed 09/13/18 Page 2 of 2 Page |D #:168
THE UN|TED STATES PoSTAL |NSPECTION SEvacE
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D|STF\|BUT|ON OF COPIES: White~U.S. Magistrate (Re!urn with Warrant)

Ye||ow-Inspector (Attach to PS Form 714)

Pink-Subject Searched

Green-Ev/`dence Control Ofticer (Artach to PS Form 714) Page at of 5 pages

PS Form 8164, chobel’ 1993

 

